 Case 8:21-cv-00142-CJC-ADS Document 102 Filed 12/02/21 Page 1 of 2 Page ID #:4744




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8                           UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10                                SOUTHERN DIVISION
11
                                           )
12                                         ) Case No.: SACV 21-00142CJC(ADSx)
                                           )
13
     FITNESS INTERNATIONAL, LLC,           )
                                           )
14                                         )
               Plaintiff,                  )
15                                         ) [AMENDED] JUDGMENT
         v.                                )
16                                         )
                                           )
17
     DDRM HILL TOP PLAZA L.P., and         )
                                           )
18   DOES 1 through 10 inclusive,          )
                                           )
19                                         )
               Defendants.                 )
20                                         )
                                           )
21   DDRM HILL TOP PLAZA L.P.,             )
                                           )
22                                         )
                                           )
23                                         )
               Counterclaimant,            )
24                                         )
                                           )
25       v.                                )
                                           )
26                                         )
     FITNESS INTERNATIONAL, LLC            )
27                                         )
                                           )
28             Counter-Defendant           )

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 Case 8:21-cv-00142-CJC-ADS Document 102 Filed 12/02/21 Page 2 of 2 Page ID #:4745




1          This matter came before the Court on the parties’ cross motions for summary
2    judgment. On October 20, 2021, the Court granted Defendant DDRM Hill Top Plaza
3    L.P.’s motion for summary judgment and denied Plaintiff Fitness International Inc.’s
4    motion for summary judgment. In accordance with the Court’s Order, IT IS HEREBY
5    ORDERED that judgment is entered in favor of Defendant for its breach of contract
6    claim in the amount of $877,712.78.
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8    DATED:      December 2, 2021
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10                                               __________________________________
11                                                     CORMAC J. CARNEY
12                                               UNITED STATES DISTRICT JUDGE
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14   CC: FISCAL
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